&lt;div data-spec-version="0.0.3dev" data-generated-on="2023-10-12"&gt;
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 &lt;link href="https://doc-stylesheets.vlex.com/ldml-xml.css" rel="stylesheet" type="text/css"&gt;&lt;/link&gt;
 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;Farmer&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;People&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;No. 21SC9&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;August 16, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-format="upper_case_lacks_specifier" data-value="HELD
 PETITIONS FOR WRIT OF CERTIORARI" data-specifier="" data-parsed="true" data-content-heading-label="
 HELD
 PETITIONS FOR WRIT OF CERTIORARI
" id="heading_79" data-id="heading_79"&gt;&lt;span data-paragraph-id="79" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="79" data-sentence-id="95" class="ldml-sentence"&gt;HELD
 &lt;span class="ldml-entity"&gt;PETITIONS FOR WRIT&lt;/span&gt; OF CERTIORARI&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="139" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="139" data-sentence-id="155" class="ldml-sentence"&gt;Held
 pending &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_155"&gt;&lt;span class="ldml-cite"&gt;20SC236&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;Thomas v. &lt;span class="ldml-entity"&gt;People&lt;/span&gt;&lt;/em&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
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